       Case 17-18394-pmm                        Doc 99         Filed 01/27/23 Entered 01/27/23 12:24:19                         Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              MICHAEL JUDE BILLERA


     Debtor 2              CYNTHIA M BILLERA
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          17-18394-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 PNC BANK NA                                                                3-1

 Last 4 digits of any number you use to identify the debtor's account                         9   0   0   8

 Property Address:                              616 PARKWAY ROAD
                                                ALLENTOWN, PA 18104




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $      43,400.29

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $      43,400.29

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $            -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $            -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $            -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $            -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $      43,400.29



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     MICHAEL JUDE BILLERA                                             Case number   (if known)   17-18394-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    01/27/2023


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     MICHAEL JUDE BILLERA                                              Case number   (if known)   17-18394-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                         Creditor Type               Date         Check # Posting Description                  Amount
4        PNC BANK                     Pre-Petition Arrears        11/19/2019   17192797Disbursement To Creditor/Principal 11,265.73
4        PNC BANK                     Pre-Petition Arrears        01/24/2020   17195577Disbursement To Creditor/Principal    921.83
4        PNC BANK                     Pre-Petition Arrears        05/22/2020   17202264Disbursement To Creditor/Principal 2,478.28
4        PNC BANK                     Pre-Petition Arrears        06/19/2020   17203616Disbursement To Creditor/Principal 1,292.93
4        PNC BANK                     Pre-Petition Arrears        07/17/2020   17204948Disbursement To Creditor/Principal 1,253.52
4        PNC BANK NA                  Pre-Petition Arrears        09/29/2020   17207827Disbursement To Creditor/Principal    835.67
4        PNC BANK NA                  Pre-Petition Arrears        01/22/2021   17212907Disbursement To Creditor/Principal 4,317.64
4        PNC BANK NA                  Pre-Petition Arrears        02/23/2021   17214210Disbursement To Creditor/Principal 1,899.76
4        PNC BANK NA                  Pre-Petition Arrears        03/19/2021   17215403Disbursement To Creditor/Principal    949.88
4        PNC BANK NA                  Pre-Petition Arrears        04/23/2021   17216547Disbursement To Creditor/Principal    949.88
4        PNC BANK NA                  Pre-Petition Arrears        05/25/2021   17217680Disbursement To Creditor/Principal    919.24
4        PNC BANK NA                  Pre-Petition Arrears        06/25/2021   17218759Disbursement To Creditor/Principal    919.24
4        PNC BANK NA                  Pre-Petition Arrears        08/20/2021   17220844Disbursement To Creditor/Principal    919.24
4        PNC BANK NA                  Pre-Petition Arrears        09/24/2021   17221899Disbursement To Creditor/Principal    919.24
4        PNC BANK NA                  Pre-Petition Arrears        10/22/2021   17222870Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        11/19/2021   17223806Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        12/17/2021   17224750Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        01/21/2022   17225725Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        02/18/2022   17226705Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        03/18/2022   17227664Disbursement To Creditor/Principal    939.66
4        PNC BANK NA                  Pre-Petition Arrears        04/22/2022   8001449 Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        05/17/2022   8001544 Disbursement To Creditor/Principal    939.66
4        PNC BANK NA                  Pre-Petition Arrears        06/27/2022   8001633 Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        07/22/2022   8001745 Disbursement To Creditor/Principal    939.66
4        PNC BANK NA                  Pre-Petition Arrears        08/19/2022   8001847 Disbursement To Creditor/Principal    939.67
4        PNC BANK NA                  Pre-Petition Arrears        09/23/2022   8001951 Disbursement To Creditor/Principal    939.66
4        PNC BANK NA                  Pre-Petition Arrears        10/21/2022   8002054 Disbursement To Creditor/Principal 1,879.33
4        PNC BANK NA                  Pre-Petition Arrears        12/16/2022   8002258 Disbursement To Creditor/Principal    402.88
                                                                                            Total for Part 2 - B:         43,400.29




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